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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  LAFAYETTE DIVISION


 LIDAN LIN,                                    )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            ) CAUSE NO.: 4:20-CV-00097-TLS-JPK
                                               )
 THE TRUSTEES OF PURDUE                        )
 UNIVERSITY, CARL DRUMMOND,                    )
 LACHLAN WHALEN,                               )
                                               )
                Defendants.                    )


                      DEFENDANTS’ REPLY BRIEF IN SUPPORT OF
                      THEIR MOTION FOR SUMMARY JUDGMENT

                                    I.      INTRODUCTION

       Undisputed material facts warrant summary judgment in favor of Defendants The Trustees

of Purdue University, Carl Drummond, and Lachlan Whalen. Plaintiff fails to come forward with

“specific facts creating a genuine issue for trial and may not rely on vague, conclusory allegations.”

Gabrielle M. v. Park Forest-Chicago Heights, Ill. Sch. Dist. 163, 315 F.3d 817, 822 (7th Cir. 2003)

(emphasis in original).

       Plaintiff’s response confirms that summary judgment is required.             The purportedly

“undisputed” facts that Plaintiff presents are either not supported by admissible evidence as

required by Fed. R. Civ. P. 56 or are immaterial. (See Defendants’ Reply to Plaintiff’s Responses

to Local Rule 56-1 Statement of Material Facts and Responses to Additional Material Facts

Provided by Plaintiff). Once Plaintiff’s speculative, unsupported theories are removed, this Court

is left with no evidence that proves, or tends to prove, Plaintiff was subjected to discrimination, a

hostile work environment, or retaliation. Because there are no material issues of fact, and
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Plaintiff’s claims fail as a matter of law, summary judgment in Defendants’ favor is mandated.

Plaintiff’s “pro se status doesn’t alleviate [her] burden on summary judgment.” Arnett v. Webster,

658 F.3d 742, 760 (7th Cir. 2011).

                           II.     ARGUMENT AND AUTHORITY

       Plaintiff concedes (or fails to dispute with material facts supported by citation to the record)

the majority of material facts presented by Purdue. Specifically:

       1. Plaintiff’s angst apparently derives from Purdue’s long-ago decision to hire Dr. Whalen
          into the Department of English and Linguistics. Plaintiff admits taking great efforts to
          oppose his hire because of her professional insecurity at that time, when her narrative
          was not about race or national origin. (SMOF ¶¶ 24-27).

       2. Plaintiff’s opposition to Dr. Whalen’s hire in 2014, according to her, served as a
          “catalyst” to “bond Purdue staff, Purdue faculty, her neighbors and their dogs together
          against Plaintiff, resulting in years of ‘stalking’ and ‘harassment.’” (SOMF ¶ 28).

       3. Plaintiff admits the bulk of Purdue’s stated facts—and everything material—related to
          the process of selecting a new Clio Editor-in-Chief. (SOMF ¶¶ 29-38). Where Plaintiff
          has indicated a “dispute” (see SOMF ¶¶ 39-45), Plaintiff simply does not agree with
          the legitimate conclusions and comparisons of credentials and abilities made by
          Purdue.

       4. In relation to the Acting Chairperson position, Plaintiff likewise does not dispute the
          bulk of Purdue’s stated material facts (SOMF ¶¶ 47-55, 62-63). What Plaintiff
          “disputes” relates to disagreement regarding process and preferences (e.g., SOMF
          ¶¶ 56-60, 103-110) or quibbling over details not material to Defendants’ motion (e.g.,
          SOMF ¶¶ 61, 64).

       Plaintiff presents few purported substantive or legitimate fact arguments in opposition to

Defendants’ summary judgment motion.          For ease of reference, Purdue outlines those few

arguments below, with Defendants’ substantive responses:




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Plaintiff’s Purported Substantive or                 Why Summary Judgment Is Nonetheless
Legitimate Fact Arguments                            Mandated
Plaintiff makes claims going back to 2014            Plaintiff’s argument fails. She would need to
and 2015 due to her understanding of the             identify timely and viable claims within the
doctrine of continuing violation. (Pl. Br.,          statutory period, which she cannot do.
pp. 2-4).
                                                     And, even if tolling were applied, Plaintiff
                                                     cannot avoid summary judgment. Plaintiff’s
                                                     tolling argument appears designed to capture
                                                     that the 2014 hire of Dr. Whalen was an
                                                     alleged “catalyst” of subsequent adverse
                                                     employment actions. In actuality, Plaintiff
                                                     simply wants to second-guess Purdue’s
                                                     administrative and academic decisions.

Plaintiff argues that she was harassed by            Plaintiff’s citation to Purdue’s harassment
nonverbal expressions and body language.             policies (and reference to “stalking”) do not
(Pl. Br., pp. 3-6).                                  support her claims or in any way show that
                                                     she was in fact mistreated based upon any
                                                     protected characteristics. Without legal
                                                     support, Plaintiff contests Purdue’s statement
                                                     of law regarding “nebulous impressions of…
                                                     body language” and the need to show racial
                                                     motivation. (See Defendants’ brief at Dkt.
                                                     122, pp. 14-15).

                                                     Finally, even if Plaintiff could show that the
                                                     alleged nonverbal harassment was motivated
                                                     by race or national origin (which she has not
                                                     and cannot), the conduct of which Plaintiff
                                                     complains is not sufficiently severe or
                                                     pervasive to create a hostile working
                                                     environment. (See Dkt. 122, p. 15).

At the root of this case, Plaintiff disagrees        Disagreement with a hiring decision does not
with the 2014 hire of Dr. Lachlan, which she         provide a basis for a discrimination or
says was a “catalyst” for future alleged             retaliation claim. Plaintiff’s unusual
misstatements. (Pl. Br., pp. 6-8).                   “catalyst” argument is not supported by
                                                     applicable law. Further, alleged violations of
                                                     Purdue procedure or policy (e.g., Purdue’s
                                                     “spouse hire or dual-career couple
                                                     accommodation policy”), even if true (which
                                                     they are not), do not establish unlawful
                                                     discrimination.




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 Plaintiff’s Purported Substantive or                  Why Summary Judgment Is Nonetheless
 Legitimate Fact Arguments                             Mandated
 Plaintiff argues an alleged 2015 adverse              Plaintiff’s shaky foundation for her claims
 employment action as “retaliation” for her            appears to be her vocal disagreement with Dr.
 opposition to Dr. Whalen’s hire. (Pl. Br.,            Whalen’s 2014 hire. As set forth throughout
 pp. 8-10).                                            Defendants’ briefing, disagreement with an
                                                       employer’s decisions does not provide the
                                                       basis for discrimination claims.

 Nitpicking the credentials of others versus her       Plaintiff’s subjective belief that she was more
 view of her own, Plaintiff claims she has             qualified is insufficient to establish a claim of
 established a prima facie case of                     discrimination. (See cases cites by
 discrimination related to Purdue’s selection of       Defendants at Dkt. 122, pp. 7-8).
 Dr. Huffman as Acting Chair. (Dkt. 130,
 pp. 11-15).

 Plaintiff refers to “pretext” relating to the         Plaintiff has not, and cannot, demonstrate that
 Acting Chair position without presenting any          Purdue’s proffered reason for selecting Dr.
 evidence of pretext. (Dkt. 130, pp. 11-15).           Huffman for the Acting Chairperson position
                                                       is “a lie or completely lacks a factual basis.”
                                                       Jordan v. Summers, 205 F.3d 337, 343 (7th
                                                       Cir. 2000). It matters not if Plaintiff (or
                                                       others) might think Purdue was mistaken or
                                                       ill-considered. Id.

 Plaintiff claims she has established a prima          Plaintiff does not present a prima facie case,
 facie case of discrimination related to the           or any pretext, related to the Editor-in-Chief
 Editor-in-Chief position. (Dkt. 130, pp. 16-          position. (See Dkt. 122, pp. 16-19).
 19).

 Plaintiff claims that Janet Badia’s 2021              Plaintiff’s claim of retaliation does not make
 appointment as Dean was retaliation against           sense. Plaintiff does not allege that she ever
 her.                                                  applied for the same Dean position. (See Dkt.
                                                       122, p. 21).



Defendants incorporate by reference their previous briefing (Dkt. 122 and Statement of Material

Facts, separately addressed). Defendants object to Plaintiff’s unsupported conjecture, hearsay

evidence without context or authentication, and unsworn narrative. Summary judgment on

Plaintiff’s claims remains necessary, as Plaintiff cannot meet her burden on any of her claims.




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A.     Plaintiff’s Title VII Claim (And Any Other Claims) Against Purdue Should Be
       Dismissed.

       Plaintiff cannot demonstrate a prima facie case or pretext because she cannot show she was

better qualified for the temporary Acting Chairperson position than Dr. Huffman. (See Dkt. 122,

pp. 4-8). Plaintiff’s self-assessment is insufficient; it is Purdue’s assessment (and particularly that

of Dr. Friedman) that matters. (See id.).

       Plaintiff has admitted the need for an Acting Chairperson to be collegial, have good

communication skills, and be respected by and get along with other members of the English

department.    (Ex. 1, pp. 76:13-77:7, 80:2-5).       Further, Plaintiff admitted that the Acting

Chairperson’s responsibilities included addressing administrative matters, and that Plaintiff lacked

administrative experience. (Ex. 1, pp. 85:13-86:1).

       Finally, and most important, Plaintiff has no evidence of race or national origin-based

animus by any decision-makers or other individuals. Plaintiff has offered nothing more than

conjecture in support of her claim of discrimination against Purdue, and Plaintiff’s “own

suspicions are not good enough.” Ridge v. Indiana Univ. Health Arnett, Inc., 350 F. Supp. 3d 707,

722 (N.D. Ind. 2018).

B.     Plaintiff’s Section 1981 Claims Against Dr. Drummond And Dr. Whalen Should Be
       Dismissed.

       Plaintiff alleges that she has been subject to discrimination, harassment, and retaliation

“since 2014” (when she opposed Dr. Whalen’s hire). (Dkt. 59-2, p. 1, ¶ 4). Plaintiff believes that

Vice Chancellor Drummond discriminated against her by initiating and approving Dr. Whalen’s

hire into the English department in 2014. (Ex. 1, pp. 13:19-14:3, 193:16-23). Moreover, Plaintiff

maintains that after she “expressed [] concerns about Dr. Whalen’s hire,” Dr. Whalen’s

“harassment and stalking became worse” and that this alleged retaliatory harassment “lasted well

into 2015.” (Ex. 1, pp. 28:15-29:10). These claims should be dismissed for many reasons,


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including because they are time-barred, unsupported, and not based on race. See accompanying

reply regarding Statement of Material Facts and Dkt. 122.

                                     III.    CONCLUSION

        Plaintiff seeks to introduce new legal theories in this case, supported by an invented and

exceedingly improbable and difficult-to-follow plot. However, there is no “catalyst” theory under

any law applicable to this case. Plaintiff continues to offer nothing more than conjecture and

conspiracy theories in support of her claims. Summary judgment should be entered in Defendants’

favor, and Plaintiff’s Complaint be dismissed in its entirety with prejudice.

                                              Respectfully submitted,

                                              /s/ Kathleen M. Anderson
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                                              ATTORNEY FOR DEFENDANTS

                                 CERTIFICATE OF SERVICE

        On this 7th day of February, 2024, a copy of the foregoing was emailed and mailed to

Plaintiff, pro se:

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                                              /s/Kathleen M. Anderson
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